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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
        v.                         )          2:21cr331-MHT
                                   )               (WO)
LAKEYLEA ANDREA JACKSON            )

                                ORDER

    This cause is before the court on the government’s

motion to continue trial.              For the reasons set forth

below, the court finds that jury selection and trial,

now set for April 4, 2022, should be continued pursuant

to 18 U.S.C. § 3161(h).

    While the granting of a continuance is left to the

sound discretion of the trial judge, see United States

v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the

court    is   limited   by   the   requirements      of   the    Speedy

Trial Act, 18 U.S.C. § 3161.           The Act provides in part:

    "In any case in which a plea of not guilty is
    entered, the trial of a defendant charged in
    an   information   or  indictment   with   the
    commission of an offense shall commence within
    seventy days from the filing date (and making
    public) of the information or indictment, or
    from the date the defendant has appeared
    before a judicial officer of the court in
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      which such charge is pending, whichever date
      last occurs."

§ 3161(c)(1).         The Act excludes from the 70-day period

any continuance based on "findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."          § 3161(h)(7)(A).               In   granting     such      a

continuance,        the    court     may    consider,      among     other

factors, whether the failure to grant the continuance

“would be likely to ... result in a miscarriage of

justice,” § 3161(h)(7)(B)(i), or “would deny counsel

... the attorney for the Government the reasonable time

necessary       for     effective        preparation,      taking       into

account         the       exercise         of        due      diligence,”

§ 3161(h)(7)(B)(iv).

      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Jackson in a speedy trial.

The    government      represents        that    the   case     agent     who


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investigated this matter was recently diagnosed with

leukemia, and that, as a result of the treatment he has

undergone,     his    immune       system      is     compromised      and    he

cannot leave home to meet for trial preparation, to

locate    witnesses,        to    serve       trial    subpoenas,       or    to

perform other necessary tasks for trial preparation.                           A

continuance     of    the    trial      is     therefore    necessary         to

allow    the   government’s           attorney      reasonable     time      for

trial    preparation.            In    addition,       Jackson    does       not

oppose the motion for a continuance.

                                       ***

    Accordingly, it is ORDERED as follows:

    (1) The government’s motion to continue trial (Doc.

60) is granted.

    (2) The jury selection and trial, now set for April

4, 2022, are reset for June 13, 2022, at 10:00 a.m., in

Courtroom      2FMJ   of    the       Frank    M.     Johnson    Jr.    United

States      Courthouse           Complex,        One     Church        Street,

Montgomery, Alabama.

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    The United States Magistrate Judge shall conduct a

pretrial conference prior to the new trial term and

shall   postpone      the    change-of-plea        and     any    other

appropriate deadlines.

    DONE, this the 7th day of March, 2022.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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